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UNITED STA'I`ES DIS'I`RICT COURT
MII)DLE DISTRICT ()F FLORII)A
JACKSONVILLE DIVISION
CODIN(} TF.CHNOLOGIES LLC,
Plaintiff,
\’. Case No. 3:17-c\'-l 143-.1-20.]]3"[`
ACOS'I`A, INC.,

l)efcndant.
f

0 R D E R

'I`I-IIS CAUS[C is before the Court on the Plaintit`t"’s “Notice of` Settlement” (Dkt. 12),
which indicates that this matter has been completely resolvcd. 'I`hcrel`ore, pursuant to Rule
3.08(1))01`1]1<:1.0::;1| Rules of` the Middle Distriet of`l~`lorida._ it is ()RI)EREI) and ADJUDGED:

l. 'I`ltis ease is hereb_\_-' I)ISMISSED without prejudice subject to the right of any party
to move this cotlrl. \\-'ithin sixty (60} days hereof for the purpose o[` entering at dismissal with
pre_iudiec, a stipulated l`orm of I~`inal Order or Judgment, or on good cause shown, to reopen this
case l`oi' further p:‘oeeedings; and

2. 'l`he Clcrk is directed to CLOSE this ease.

I)ONE ANI) ENTERED at jacksonville3 Florida, this 2 %; of" December, 2017.

 

»" ' `J*Case 3:17-cv-01148-HES-.]BT Document 13 Filed 12/21/17 Page 2 of 2 Page|D 104

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